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Date: 7/28/2016                            Flathead County
                           Case 9:16-cv-00104-DWM          District1-1
                                                      Document                              User:
                                                                   CourtFiled 08/10/16 Page 2     JANDERSON
                                                                                              of 11
Time: 04:22 PM                                       Case Register Report
Page 1 of 1                                       DV-15-2014-0000006-BC
                                   Janet Heinze vs. Pan American Life Insurance Company


Filed:                 1/3/2014
Subtype:               Breach of Contract
 Status History
    Open                                       1/3/2014
 Plaintiffs
   Pl. no. 1           Heinze, Janet
    Attorneys
       Evans, Alex K                                      (Primary attorney)     Send Notices

Defendants
   Def. no. 1          Pan American Life Insurance Company
 Judge History
    Date                 Judge                                            Reason for Removal
    1/3/2014             Ortley, David M                                  Current
 Register of Actions

        Doc. Seq.        Entered       Filed      Text                                           Judge
               1.000     01/07/2014    01/03/2014 Complaint & Demand for Jury Trial / No summons Ortley, David M
                                                  issued
               2.000     07/08/2016    07/07/2016 SUMMONS: Summons: Issued to Pan American Ortley, David M
                                                  Life Insurance Company on 7/7/2016; Service
                                                  Fee of $0.00.




                                                                                                       EXHIBIT A
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